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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re                                                          Chapter 11

PARAGON OFFSHORE PLC,                                          Case No. 16-10386 (CSS)

                       Debtor.


PARAGON LITIGATION TRUST,

                       Plaintiff,

        v.

NOBLE CORPORATION PLC, NOBLE                                   Adv. Proc. No. 17-51882 (CSS)
CORPORATION HOLDINGS LTD., NOBLE
CORPORATION, NOBLE HOLDING
INTERNATIONAL (LUXEMBOURG) S.à r.l.,
NOBLE HOLDING INTERNATIONAL
(LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
HOLDINGS LIMITED, MICHAEL A. CAWLEY,
JULIE H. EDWARDS, GORDON T. HALL, JON A.
MARSHALL, JAMES A. MACLENNAN, MARY P.
                                                               Related Docket Nos. 188, 189, 196,
RICCIARDELLO, JULIE J. ROBERTSON, and
                                                               197, 198, ____
                                                                          222
DAVID WILLIAMS,

                       Defendants.


                ORDER COMPELLING DEFENDANTS TO PRODUCE
              DOCUMENTS IMPROPERLY WITHHELD AS PRIVILEGED

               Upon S_^cYTUbQdY_^ _V F\QY^dYVVpc \UddUb ]_dY_^ d_ S_]`U\ 9UVU^TQ^dc d_ `b_TeSU

SUbdQY^ T_Se]U^dc gYdXXU\T Qc `bYfY\UWUT %dXU nDisputed Documentso& %9)?) +22& %dXU nLetter

Motiono&' dXU 9UVU^TQ^dcp \UddUb Y^ _``_cYdY_^ d_ dXU BUddUb C_dY_^ %9)?) +23&' dXU Declaration of

William E. Turcotte Y^ ce``_bd _V dXU 9UVU^TQ^dcp _``_cYdY_^ %9)?) +30& %dXU nTurcotte

Declarationo&' dXU F\QY^dYVVpc \UddUb Y^ bUc`_^cU d_ dXU IebS_ddU 9US\QbQdY_^ Q^T Y^ VebdXUb ce``_bd

_V dXU BUddUb C_dY_^ %9)?) +31&' Q^T dXU 9UVU^TQ^dpc bU`\i dXUbUd_ %9)?) +32&' UQSX VY\UT Y^ dXU
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above-captioned adversary proceeding with respect to the complaint filed by the Paragon

Litigation Trust (D.I. 1); and upon the representations and arguments made by the parties at the

dU\U`X_^YS XUQbY^W XU\T Ri dXU 8_ebd _^ CQi +0' ,*+3 %9)?) +3,&5 Q^T e`_^ dXU 8_ebdpc be\Y^W Qd

the telephonic hearing on July 2, 2019 (D.I. 210); and the Court finding that it has jurisdiction

over the Letter Motion pursuant to 28 U.S.C. §§ 157 and 1334; that due and sufficient notice of

the Letter Motion has been given under the circumstances and upon determination that the legal

and factual bases set forth in the Letter Motion establish just cause for the relief granted herein;

and after due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED that:

       1.      The Letter Motion is GRANTED to the extent set forth herein.

       2.      The Court finds that Defendants have waived any and all claim to attorney-client

privilege with respect to the Disputed Documents.

       3.      Defendants shall produce the Disputed Documents with reasonable dispatch.

       4.      The Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.




        Dated: July 22nd, 2019
                                               CHRISTOPHER
                                                2          S. SONTCHI
        Wilmington, Delaware
                                               UNITED STATES BANKRUPTCY JUDGE
